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 8 [Additional counsel listed on service list]
 9 Attorneys for Plaintiff and the Proposed Class

10
                                UNITED STATES DISTRICT COURT
11
                      NORTHERN DISTRICT OF CALIFORNIA - OAKLAND
12
     June Newirth, by and through her Guardian       CASE NO. 4:16-cv-03991-JSW
13   ad Litem, Frederick J. Newirth; Barbara
     Feinberg; and Elizabeth Barber, Andrew          CLASS ACTION
14   Bardin, and Thomas Bardin as successors-in-
     interest to the Estate of Margaret Pierce; on   DECLARATION OF KATHRYN STEBNER
15   their own behalves and on behalf of others      IN SUPPORT OF PLAINTIFFS’ MOTION
     similarly situated,                             FOR PRELIMINARY APPROVAL OF
16                                                   CLASS SETTLEMENT
                           Plaintiffs,
17
     vs.
18                                                   Date:    May 7, 2021
     Aegis Senior Communities, LLC, dba Aegis        Time:    9:00 a.m.
19   Living; and Does 1 Through 100,                 Place:   Courtroom 5, 2nd Floor
                                                     Judge:   Hon. Jeffrey S. White
20                         Defendants.
                                                     Action Filed: April 12, 2016
21                                                   Trial Date: None Set
22

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 1          I, Kathryn Stebner, hereby declare,

 2          1.      I am an attorney duly licensed to practice before all the courts of the State of

 3 California and am a member in good standing of the State Bar of California. I am the principal of

 4 Stebner and Associates and am counsel for the Plaintiffs in the above captioned matter (the

 5 “Action”). I am submitting this Declaration in support of Plaintiffs’ Motion for Preliminary

 6 Approval of Class Settlement. Unless otherwise indicated, I have personal knowledge of the facts

 7 set forth herein. If called upon to testify, I would do so competently.

 8          2.      Attached as Exhibit A to Plaintiffs’ Notice of Lodgment ("NOL") is a true and
 9 correct copy of the Stipulation of Settlement (“Settlement Stipulation”) and Amendment to the

10 Stipulation of Settlement agreed to by the parties in this case. Attached as exhibits to the

11 Settlement Stipulation are the parties’ Stipulated Injunction, proposed Class Notice (long form and

12 summary form), a proposed Preliminary Approval Order, and an Escrow Agreement and Escrow

13 Procedure Agreement.

14          Plaintiffs’ Counsel Experience and Background
15          3.      Plaintiffs’ Counsel have substantial experience in class action litigation and, in
16 particular, consumer class action cases involving assisted living facilities and skilled nursing

17 facilities.

18          4.      I have been practicing law since 1985, prosecuting elder abuse cases since 1987,

19 and practicing solely in the elder abuse area for nearly twenty years. I have been actively involved

20 with California’s leading elder advocacy group, California Advocates for Nursing Home Reform

21 (“CANHR”), since 1987, and have sat on the California Bar-sanctioned lawyer referral panel of

22 CANHR for Elder and Dependent Abuse Civil Protection Act (EADACPA) cases since 2002. I

23 have tried more than twenty trials and arbitrations. Among other publications, I am the author of

24 two chapters in the CEB treatise on elder abuse, including financial elder abuse. I am a Past-

25 President of the San Francisco Trial Lawyers' Association (SFTLA), have been on the Board of

26 Governors of the Consumer Attorneys of California (CAOC) for over ten years and am currently a

27 Vice President. I have lectured on numerous occasions regarding elder abuse cases, including

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 1 several lectures on class action law and the use of Business & Professions Code section 17200 and

 2 the CLRA in Elder Abuse actions. I have also testified on several occasions before the California

 3 Assembly and Senate on bills pertaining to elder abuse and elder rights. Along with others in the

 4 Plaintiffs’ Counsel group, I have been approved by California state and federal courts to serve as

 5 Class Counsel in numerous other consumer class actions against assisted living facilities and

 6 skilled nursing facilities.

 7          5.      Christopher J. Healey, a partner at Dentons US LLP, was admitted to the State Bar

 8 of California in 1982. From 1982 through 1984, he served as a law clerk to the Honorable
 9 William B. Enright, United States District Court Judge for the Southern District of California

10 (now retired). He has tried more than ten cases to verdict before a jury or judge. His primary area

11 of expertise is class action litigation and for most of his nearly forty years of law practice, he has

12 defended clients sued in consumer and business class actions. Commencing in approximately 2006

13 with the Skilled Healthcare litigation (described below), however, he joined with other Plaintiffs’

14 Counsel to prosecute class actions filed to address understaffing and related issues in longterm

15 care facilities. Along with others in the Plaintiffs’ Counsel group, he has been approved by

16 California state and federal courts to serve as Class Counsel in numerous other consumer class

17 actions against skilled nursing facilities and assisted living facilities.

18          6.      Guy B. Wallace, a named partner with Schneider Wallace Cottrell Konecky LLP,

19 was admitted to the State Bar of California in 1995. He has extensive experience in class actions

20 and specializes in disability civil rights and in employment class actions. He has served as lead

21 counsel, co-lead counsel, or class counsel in more than twenty litigated class actions, including

22 cases through trial and on appeal. Mr. Wallace serves as a board member for the San Francisco

23 Trial Lawyers Association, the San Francisco Bar Association, Disability Rights California, and

24 the ACLU-Northern California. He is a recognized expert in the area of civil rights litigation.

25          7.      Plaintiffs’ Counsel also include Michael Thamer of the Law Offices of Michael

26 Thamer and William Tim Needham of Janssen Malloy LLP. Mr. Thamer has practiced law since

27 1981, has tried more than fifty jury trials to verdict and has prosecuted hundreds of elder and

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 1 dependent abuse cases in California. Mr. Needham has practiced law since 1980, is an ABOTA

 2 member and has tried more than fifty jury trials to verdict in addition to numerous court trials and

 3 arbitrations. Mr. Healey, Mr. Thamer, and Mr. Needham jointly received a California Lawyer of

 4 the Year (CLAY) award in 2010 for work on the Skilled Healthcare case, a class action that was

 5 tried to verdict after a six-month jury trial. They were also named Consumer Attorneys of the

 6 Year (2010) by Public Justice and CAOC for work on the Skilled Healthcare trial.

 7          8.      Plaintiffs’ Counsel also include David Marks of the Law Firm of Marks Balette

 8 Giessel & Young, PLLC. Mr. Marks has practiced law for over thirty years and was admitted pro
 9 hac vice to appear as co-counsel for Plaintiffs in this matter. Mr. Marks has served as trial counsel

10 in some of the largest verdicts in the United States arising out of the wrongful death or

11 catastrophic injury of a skilled nursing facility resident. He has also served as invited faculty for

12 the American Academy of Forensic Science; the United States Department of Justice; the

13 Association of Trial Lawyers of America; the Southern Trial Lawyers of America; the American

14 Association for Justice; the National College of District Attorneys; the University of Arkansas

15 School of Medicine; the University of Texas School of Nursing; Texas Tech School of Nursing;

16 State Bar of Texas, the National Association of Medicaid Fraud Examiners; and various state trial

17 lawyers’ associations. Mr. Marks has been involved in legislative efforts to correct inadequate

18 enforcement of skilled nursing facility regulations for more than twenty years. He has testified as

19 an expert witness before the U.S. Senate Committee on Aging and the Health and Human

20 Resource Committee, Texas House of Representatives. Further, he has also served on the Sub-

21 Committee on Nursing Home Regulation and Enforcement; Institute of Medicine, and the

22 National Academy of Science. In 2005, the National Citizens Coalition for Nursing Home Reform

23 (NCCNHR) awarded Mr. Marks with its Special Appreciation Award for his effective promotion

24 of residents’ rights and in supporting NCCNHR’s national advocacy in improving accountability

25 and quality in skilled nursing facilities.

26          9.      Plaintiffs’ Counsel also include Dan Drachler of the Law Firm of Zwerling

27 Schachter & Zwerling LLP. Mr. Drachler will file an appearance as co-counsel for Plaintiffs in

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 1 this matter in conjunction with the Stipulated Motion to Amend the Scheduling Order, For Leave

 2 to File Third Amended Complaint, and for Permissive Joinder (“Motion to File TAC”). Mr.

 3 Drachler has been co-counsel for Plaintiffs in Morrison v. Aegis Senior Communities, LLC, Case

 4 No. 18-2-06326-4 SEA (the “Washington Action”) since the inception of the case. Mr. Drachler

 5 concentrates in the areas of antitrust, consumer and securities class action litigation. He chairs his

 6 firm’s antitrust practice group and has over 30 years’ experience representing the interests of

 7 consumers, businesses, union pension and health and welfare funds, and state, local and tribal

 8 governments. Mr. Drachler served as co-lead counsel in In re Cipro Cases I & II, an antitrust class
 9 action lawsuit challenging pharmaceutical reverse payment agreements. The case led to a

10 landmark decision by the California Supreme Court and the creation of a new structured rule of

11 reason standard. The case resulted in settlements totaling $399 million. He was also one of the

12 lead counsel in Rodriguez v. West Publishing Corp., an antitrust class action alleging the fixing of

13 prices for BARBRI bar review courses. The case settled for $49 million. Mr. Drachler currently

14 serves in leadership positions in a number of antitrust and RICO cases, including Lincoln

15 Adventures, LLC v. Those Certain Underwriters at Lloyd’s London, challenging a conspiracy

16 among insurance syndicates at Lloyd’s of London that resulted in U.S. insureds having to pay

17 higher prices for insurance products sold in the United States; In re Restasis Antitrust Litigation,

18 challenging the anticompetitive conduct of Allergan, Inc. that resulted in consumers and third-

19 party payors paying more than they should have for the dry eye medication Restasis. Mr. Drachler

20 also serves as counsel to tribes in California, Washington and Alaska in In re National

21 Prescription Opiate Litigation, seeking to redress the scheme of pharmaceutical manufacturers,

22 distributors and pharmacies that resulted in the nationwide opioid crisis. Prior to joining Zwerling

23 Schachter & Zwerling LLP, Mr. Drachler served as Chief Deputy Attorney General for the State

24 of New York where he supervised and coordinated all legal matters in the Department of Law. He

25 has also served as an adjunct professor of law and has lectured on antitrust issues as well as issues

26 involving the intersection of government and private counsel in class action litigation.

27          10.     Plaintiffs’ Counsel also include Leah S. Snyder, founder of the Law Firm of Ember

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 1 Law PLLC. Ms. Snyder will file an appearance as co-counsel for Plaintiffs in this matter in

 2 conjunction with the Motion to File TAC. Ms. Snyder has been co-counsel for Plaintiffs in the

 3 Washington Action since the inception of the case. She has been practicing litigation in Seattle,

 4 Washington, since 2011. Her current practice focuses on all aspects of civil litigation.

 5          11.     Plaintiffs’ Counsel also include Kirsten Fish of the Law Firm of Needham Kepner

 6 & Fish LLP. She has been practicing law since 2001 and has been a partner at her firm since

 7 2007. Ms. Fish focuses her practice on personal injury, wrongful death and elder abuse litigation.

 8 She is the author of “Litigating Financial Abuse Actions Against Institutions, Agents and
 9 Fiduciaries” in CEB’s California Elder Law Litigation: An Advocate’s Guide. She is also a

10 frequent guest lecturer, presenting annual seminars in Northern California such as CEB’s “Civil

11 Litigation Practice: Recent Developments” since 2010 and “What’s New in Tort & Trial” since

12 2010. Ms. Fish has also lectured to law students studying Trial Techniques at Santa Clara

13 University School of Law and has taught both Legal Research and Writing and Torts to first year

14 law students at Lincoln Law School in San Jose.

15          12.     Along with several co-counsel in this case, I have experience representing plaintiffs
16 in five other California class action cases against owners of assisted living facilities alleging

17 violations of the CLRA, fraudulent business practices (pursuant to Business & Professions Code

18 section 17200), and elder financial abuse, as well as a class action against owners of assisted living

19 facilities in Washington State. Three of the other California class actions against assisted living

20 facility operators have settled: Winans v. Emeritus Corporation (N.D. Cal., Case No. 3:13-cv-

21 03962-HSG) was settled in 2015, and had been pending in the U.S. District Court, Northern

22 District of California; Carnes v. Atria Senior Living, Inc. (N.D. Cal., Case No. 3:14-cv-02727-VC)

23 was settled in 2016, and had been pending in the U.S. District Court, Northern District of

24 California; and Lollock, et al. v. Oakmont Senior Living, LLC, et al. (Superior Court of California,

25 County of Alameda, Case No. RG17875110) was settled in 2020, and had been pending in the

26 Superior Court of California, County of Alameda.

27          13.     Along with several co-counsel in this case, I have also represented the plaintiffs in

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 1 class actions filed against skilled nursing facility chains alleging system-wide violations of

 2 minimum nurse staffing requirements in California. One of these actions, Wehlage v. EmpRes

 3 Healthcare, Inc., et al., Case No. 10-05839 CW, was settled in 2013, and had been pending in the

 4 Northern District of California. Another action, Walsh v. Kindred Healthcare, et al., Case No. 11-

 5 00050-JSW, was settled in 2013, and had been pending in the Northern District of California. Six

 6 other cases, Valentine v. Thekkek Health Services, Inc., No. RG-10546266 in Alameda County

 7 Superior Court in front of the Hon. Robert Freedman; Montreuil v. The Ensign Group, Inc., No.

 8 BC449162 in Los Angeles County Superior Court; Hernandez v. Golden Gate Equity Holdings,
 9 LLC, No. CGC-10-505288 in San Francisco County Superior Court; Shuts v. Covenant Holdco

10 LLC, No. RG 10551807 in Alameda County Superior Court in front of the Hon. Wynne Carvill;

11 Dalao v. LifeHouse Holdings, LLC, No. RG12660602 in Alameda County Superior Court in front

12 of the Hon. Wynne Carvill; Correa v. SnF Management Company, LLC, No. RG-13664498 in

13 Alameda County Superior Court in front of the Hon. Wynne Carvill; Regina v. Hycare, Inc. No.

14 RG-12647573 in Alameda County Superior Court originally in front of the Hon. Wynne Carvill

15 and later in front of the Hon. George Hernandez, Jr., have also now settled.

16          14.     On the appellate level, Plaintiffs’ Counsel have been at the forefront on nurse
17 understaffing and related issues in skilled nursing facilities, including several reported decisions in

18 nurse staffing class actions. See e.g., Conservatorship of Gregory (2000) 80 Cal. App. 4th 514;

19 Fitzhugh v. Granada Healthcare LLC (2007) 150 Cal. App. 4th 469; Shuts v. Covenant Holdco

20 LLC (2012) 208 Cal.App.4th 609; Walsh v. Kindred Healthcare (N.D. Cal 2011) 798 F. Supp. 2d

21 1073; Wehlage v. EmPres Healthcare , Inc. (N.D. Cal 2011) 791 F. Supp. 2d 774.

22          Case Proceedings

23          15.     This case is based on allegations that Defendant misleadingly failed to disclose that

24 resident assessments performed by its personnel would not be used to set facility staffing, but

25 instead that Defendant failed to disclose that staffing is primarily determined by labor budgets and

26 profit objectives. Defendant disputes these allegations in their entirety, denies any legal liability

27 and vigorously defended the case since the initial complaint was filed on April 12, 2016. The lead

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 1 claim for monetary relief in the lawsuit has been the recovery of the approximately $54 million in

 2 Community Fees paid by Defendant’s residents in California and Washington. Under Plaintiffs’

 3 case theory, the Community Fees would not have been paid had residents known the “true” facts

 4 that resident assessments are not used to set facility staffing. Unlike other charges—such as care

 5 fees as to which residents arguably received some value for services rendered—the Community

 6 Fees arguably are the least likely to be affected by Defendant’s offset and related defenses.

 7          16.     On April 12, 2016, the California Named Plaintiffs June Newirth, by and through

 8 her successor-in-interest, Kathi Troy; and Elizabeth Barber, Andrew Bardin, and Thomas Bardin
 9 as successors-in-interest to the Estate of Margaret Pierce, on behalf of themselves and all others

10 similarly situated (together, “California Named Plaintiffs”) filed this action against Defendant.

11 Filed as a putative class action, the lawsuit sought relief on behalf the California Named Plaintiffs

12 and all persons who resided in any of Defendant's California assisted living facilities since April

13 12, 2012. The California Named Plaintiffs asserted claims for damages and other relief under

14 California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq. (“CLRA”),

15 California's unfair competition statute, Bus. & Prof. Code §§ 17200 et seq. ("UCL") and the

16 Financial Elder Abuse statute, Cal. W&I Code § 15610.30 (collectively, the “California Claims”).

17          17.     On March 8, 2018, the Washington Named Plaintiff Carol M. Morrison by Stacy A.
18 Van Vleck as Attorney-in-Fact on behalf of herself and all others similarly situated (“Washington

19 Named Plaintiff”) filed a putative class action complaint against Defendant in the Superior Court

20 of Washington, County of King. On October 15, 2018, the Washington Named Plaintiff filed a

21 First Amended Complaint captioned Carol M. Morrison, et al. v. Aegis Senior Communities, LLC,

22 dba Aegis Living, case no. 18-2-06326-4-SEA (“Washington Action”), for claims arising under

23 Washington’s Consumer Protection Act (“CPA”, RCW 19.86.020) and Financial Exploitation of

24 Vulnerable Adults Statute (RCW 74.34.020, 74.34.200) (collectively, the “Washington Claims”).

25 The Washington Action sought relief on behalf the Washington Named Plaintiff and all persons

26 who resided in any of Defendant's Washington assisted living facilities since March 8, 2014.

27          18.     The crux of Plaintiffs’ cases in California and Washington is that Defendant

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 1 allegedly misled residents, family members, and the general public to believe that resident

 2 assessments would be used to determine staffing at Aegis’ facilities. Plaintiffs allege that facility

 3 staffing is not determined by resident assessments but instead is based primarily on labor budgets

 4 and pre-determined profit objectives. Defendant denies the allegations and claims in the case in

 5 their entirety and denies any wrongdoing whatsoever. Defendant also denies that the case is

 6 appropriate as a class action for purposes of litigation. Defendant has agreed to settle to avoid

 7 continued burdensome and costly litigation.

 8          19.     The California Action and Washington Action have been vigorously litigated from
 9 inception. In the California Action, following Plaintiffs’ amendment to the initial complaint,

10 Defendant removed to Federal Court on July 14, 2016. On July 21, 2016, Defendant filed a

11 Motion to Compel Arbitration and Dismiss Class Claims and a Motion to Dismiss the First

12 Amended Class Action Complaint. On August 24, 2016, the California Named Plaintiffs filed a

13 Second Amended Complaint. On September 21, 2016, Defendant filed a Motion to Dismiss the

14 Second Amended Class Action Complaint. On May 18, 2017, the District Court denied

15 Defendant’s Motion to Dismiss the Second Amended Class Action Complaint. On July 28, 2017,

16 Defendant renewed its Motion to Compel Arbitration and Dismiss Class Claims. On September

17 29, 2017, the District Court denied Defendant’s renewed Motion to Compel Arbitration and

18 Dismiss Class Claims. On October 27, 2017, Defendant filed a Notice of Appeal and Motion to

19 Stay Pending Appeal. On November 21, 2017, the District Court denied Defendant’s Motion to

20 Stay Pending Appeal. On July 24, 2019, the United States Court of Appeals for the Ninth Circuit

21 affirmed the District Court’s order denying Defendant’s Motion to Compel Arbitration. On

22 September 10, 2019, Defendant answered the Second Amended Complaint, wherein Defendant

23 expressly denied the allegations and claims alleged in the Second Amended Complaint. On

24 October 4, 2019, Defendant filed a Motion to Strike Class Definition or to Deny Class

25 Certification in the alternative. On October 18, 2019, Defendant filed a Motion for Summary

26 Judgment. On October 21, 2019, the California Named Plaintiffs filed a Motion for Class

27 Certification. The District Court subsequently granted the stipulated requests by the California

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 1 Named Plaintiffs and Defendant (together, “California Parties”) to continue the hearings on the

 2 Motion for Class Certification and Motion for Summary Judgment. When the California Parties

 3 notified the District Court about this settlement on July 23, 2020, the District Court denied,

 4 without prejudice, the Motion for Class Certification, Motion for Summary Judgment, Motion to

 5 Strike the Class Definition or Deny Class Certification, subject to renewal if this settlement is not

 6 consummated.

 7          20.    In the Washington Action, following Plaintiff’s amendment to the initial complaint,

 8 Defendant filed a Motion to Deny Class Certification on October 17, 2019. By order dated May 1,
 9 2020, the Washington state court (Hon. Marshall Ferguson) denied Defendant’s motion. On

10 October 25, 2019, Defendant answered the First Amended Complaint, wherein Defendant

11 expressly denied the allegations and claims alleged in the First Amended Complaint.

12          21.    To date, a litigation class is yet to be certified in the California or Washington
13 Actions.

14          Investigation and Discovery
15          22.    Prior to reaching a settlement, Plaintiffs engaged in substantial investigation and
16 discovery. In the California Action, those efforts included extensive review of public documents

17 prior to the filing of the lawsuit, written and deposition discovery, including written discovery

18 responses exchanged between the parties, Defendant’s production of approximately 132,483 pages

19 of documents, including approximately 621 Excel files, and the depositions of eleven witnesses,

20 including Defendant’s executive-level and facility-level personnel, and designated Persons Most

21 Knowledgeable, the Plaintiffs’ experts, and two witnesses with knowledge about the claims of the

22 California Named Plaintiffs; as well as data intensive discovery resulting in the production of

23 electronic employee payroll data as well as meet and confer efforts among Defendant and its

24 resident assessment software vendor to obtain Defendant’s electronic resident assessment data.

25          23.    In the Washington Action, those efforts included extensive review of public

26 documents prior to the filing of the lawsuit, extensive written and deposition discovery, including

27 written discovery responses exchanged between the parties, Defendant’s production of

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 1 approximately 82,063 pages of documents, including 3,667 Excel and native files, and the

 2 depositions of three witnesses, including the Class Representative in this action; as well as data

 3 intensive discovery resulting on the production of electronic employee payroll data and resident

 4 assessment data.

 5          24.    The electronic payroll and assessment data was used by Plaintiffs’ staffing experts

 6 to undertake a “shortfall” analysis regarding sample facilities in California and Washington.

 7          25.    In addition, Plaintiffs in both actions engaged in extensive meet and confer efforts

 8 and motion practice to obtain Defendant’s production of documents and responses to interrogatory
 9 discovery; participation in discovery hearings before magistrate judges to compel Defendant’s

10 production of certain documents.

11          Settlement Negotiations
12          26.    The global settlement agreement for the Californian and Washington Actions was
13 reached as a result of extensive arm’s length negotiations through parties’ counsel. This included

14 a full-day mediation of the California Action on May 29, 2018 before the Honorable Ronald

15 Sabraw (ret.) of JAMS in San Jose, California; a second full-day mediation of the California

16 Action on October 2, 2018 before the Honorable Ronald Sabraw (ret.) of JAMS in San Jose,

17 California; a full-day joint mediation of the California Action and Washington Action on October

18 22, 2019 before the Honorable Bruce Hilyer (ret.) of Hilyer Dispute Resolution in Seattle,

19 Washington; and a full-day joint mediation of the California Action and Washington Action on

20 March 24, 2020 before the Honorable Rebecca Westerfield (ret.) of JAMS in San Francisco,

21 California. Although the case did not resolve at the mediation session with Judge Westerfield, the

22 parties continued settlement efforts, which led to this settlement. The negotiations were

23 contentious and hard-fought, with several instances where it appeared that the parties would not

24 reach agreement.

25          Settlement Terms

26          The Settlement Fund

27          27.    Defendant has agreed to pay $16.25 million to resolve all monetary obligations

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 1 owed under the settlement. In addition to the Settlement Awards paid to Settlement Class

 2 Members, the Fund will be used to pay notice/administration costs (not to exceed $105,000),

 3 service awards of $15,000 to each Named Plaintiff (totaling $75,000), reimbursement of litigation

 4 expenses not to exceed $1.3 million, and Plaintiffs’ attorneys’ fees in the amount approved by the

 5 Court but not exceed $6.35 million. Factoring in an agreed-upon reserve of $25,000 to cover late

 6 claims, the estimated amount available to fund payments to class members is roughly $8.395

 7 million.

 8          28.     Significantly, there will be no reversion of any portion of the Settlement Fund to
 9 Defendant. Rather, unused reserve funds as well as uncashed or returned checks will be used to

10 fund a second round of Settlement Awards to identified class members. Alternatively, if the

11 remaining amounts make a second distribution economically impractical, the balance will be

12 distributed to a cy pres recipient, nominated by Plaintiffs’ Counsel and approved by the Court.

13 The proposed cy pres recipient is Groceries for Seniors, a non-profit based in San Francisco

14 providing free food to poor, elderly people. The parties and their counsel do not have any

15 relationship with the proposed cy pres recipient.

16          Settlement Payments to Class Members

17          29.     The Agreement provides for cash payments to Settlement Class Members (or if

18 deceased, their legal successors) on a direct distribution basis, with no claim form requirement to

19 obtain payment. The parties estimate that the Settlement Class consists of approximately 10,069

20 current and former residents.

21          30.     The parties have agreed that CPT Group, Inc. shall serve as the Settlement

22 Administrator. With over thirty years of experience, CPT Group, Inc., has administered thousands

23 of complex class action cases and billions of dollars in settlement funds. CPT Group, Inc., has

24 extensive knowledge of complex class action settlement notice programs and are known for their

25 quality of work, timeliness, and competitive pricing. (See also CPT Group, Inc.’s website at

26 https://www.cptgroup.com.) A true and correct copy of CPT Group, Inc.’s proposal to handle

27 class notice and settlement administration on this case is attached as Exhibit B to Plaintiffs’ Notice

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 1 of Lodgment. CPT Group, Inc. estimates the Class Notice, settlement administration and related

 2 costs will not exceed $105,000. The parties reviewed proposals from two potential settlement

 3 administrators for the same notice and claims administration process and selected CPT Group for

 4 their experience and competitive pricing. Within the last two years, Plaintiffs’ counsel engaged

 5 CPT Group for the settlement administration of one other class action matter, similarly against an

 6 assisted living facility chain in California, in the case Lollock, et al. v. Oakmont Senior Living,

 7 LLC, et al., Superior Court of California, County of Alameda, No. RG17875110.

 8           31.      The Settlement Administrator will mail settlement checks to each Settlement Class
 9 Member for whom a valid address has been provided by Defendant (or located through the address

10 update procedures). For Settlement Class Members for whom current addresses cannot be located,

11 the Administrator is authorized to make payment based on a “distribution request” by the class

12 member (or their legal successor or successor-in-interest). The Settlement Administrator will have

13 a standard procedure in place to ensure that distribution requests and other communications (e.g.,

14 opt outs) are made by qualified Settlement Class Members or individuals authorized to act on their

15 behalf.

16           32.      Subject to Court approval, the cash payments to Settlement Class Members will be
17 calculated by category of Community Fee payment as follows:

18                 a. Community Fee Payments of $500 or More

19                 Settlement Class Members who paid a net Community Fee of $500 or more and
                   Settlement Class Members for whom Community Fee Information is unavailable shall
20
                   each be entitled to a Settlement Award calculated as follows. The Settlement
21                 Administrator shall first calculate a Settlement Payment Percentage (“SPP”) by
                   dividing the Net Settlement Fund (less the amounts allocated for the No Community
22                 Fee Paid group per paragraph 3 below) by the total amount of net Community Fees
                   paid by all Settlement Class Members including Settlement Class Members for whom
23                 Community Fee Information is unavailable. Next, the SPP shall be applied against the
24                 Community Fee paid by or on behalf of each Settlement Class Member and the
                   reduced average net Community Fee assigned to each Settlement Class Member for
25                 whom Community Fee Information is unavailable, to derive the Settlement Award
                   amount for each such Settlement Class Member. (See SS, ¶¶7.2 and Amendment to SS,
26                 ¶ 7.6.)
27           Defendant’s data showed a total of $53,187,315.75 in Community Fees were paid by or on

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 1 behalf of Settlement Class Members after November 1, 2010 ($25,262,684.77 or 47.5 % in

 2 California and $27,924,630.93 or 52.5% in Washington). 6,230 Settlement Class Members (3,585

 3 in California and 2,645 in Washington) paid a Community Fee of $500 or more after November 1,

 4 2010. Additionally, roughly $2,816,921.57 in Community Fees in California and roughly

 5 $430,299.94 in Washington were paid by Settlement Class Members prior to November 1, 2010 as

 6 calculated pursuant to Paragraph 2 below. The Net Settlement Fund (less the amounts allocated for

 7 the No Community Fee Paid group per paragraph 3 below) is $8,236,500 ($3,912,571 in California

 8 and $4,323,929 in Washington). Accordingly, under the SPP is estimated to be approximately
 9 13.9% for the California Subclass and 15.3% for the Washington Subclass. To further illustrate, if

10 a Settlement Class Member in the Washington Subclass paid a Community Fee of $10,000 after

11 November 1, 2010, their estimated settlement payment is $1,525. The projected average settlement

12 payment for the California Subclass is approximately $950, and $1,550 for the Washington

13 Subclass.

14             b. Community Fee Payment of $0 to $499
15             Settlement Class Members who paid $0 to $499 in net Community Fees shall each be
               entitled to a Settlement Award in amount of $50. (See SS, ¶¶7.2 and Amendment to
16
               SS, ¶7.6.)
17         Per Defendant’s data, 3,161 residents in the Settlement Class (1,493 in California and
18 1,668 in Washington) did not pay any Community Fees. An additional 9 Settlement Class

19 Members (4 in California and 5 in Washington) paid less than $499.

20             c. Community Fee Payments Made Pre-November 2010
21
              Settlement Class Members who paid Community Fees before November 2010 (and
22            thus specific payment amounts are unavailable) shall each be entitled to a Settlement
              Award calculated as follows. The Settlement Administrator shall calculate the average
23            Community Fee paid by Settlement Class Members in 2011. The Settlement
              Administrator shall divide the number of Settlement Class Members who paid no
24
              Community Fee by the number of Settlement Class Members for whom Community
25            Fee Information is available, resulting in a percentage. The Settlement Administrator
              shall reduce the average Community Fee paid in 2011 by that percentage. The reduced
26            average Community Fee amount shall be treated as the net Community Fee amount
              paid by each Settlement Class Member for whom Community Fee Information is
27            unavailable for purposes of the calculation in paragraph 1 above. (See SS, ¶¶7.2 and
              Amendment to SS, ¶7.6.)
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 1          Defendant’s data showed 678 Settlement Class Members in this group (537 in California

 2 and 141 in Washington). The average Community Fee paid in 2011 was $7,430.26 in California

 3 and $4,976.29 in Washington. Per Paragraph 3 above, the reduced average Community Fee paid

 4 by this group was $5,245.66 in California (totaling approximately $2,816,921.57) and $3,051.77

 5 in Washington (totaling approximately $430,299.94).

 6          33.    Before the distribution, the Administrator will recalculate the per-resident payment

 7 using the actual number of class members located through Defendant’s records, address updates

 8 and Distribution Requests. From past experience with these types of settlements, that process will
 9 likely result in an increase in the per-resident payment. The checks will be mailed within thirty

10 calendar days after the Effective Date as defined in the Settlement Stipulation. Settlement Award

11 checks not cashed within the 120-day check cashing deadline (after reasonable reminders issued

12 by the Administrator) shall be added to the Reserve Fund.

13          34.    The Agreement authorizes the Administrator to hold a reserve of $25,000 to pay
14 late-submitted distribution requests or address other valid requests from Settlement Class

15 Members. Also, Settlement Award checks not cashed within the check cashing deadline (after

16 reasonable reminders issued by the Settlement Administrator) shall be added to the reserve fund.

17 As stated, the Agreement provides for a second potential distribution to identified Settlement

18 Class Members after the initial distribution and late claims process has been completed, assuming

19 funds are left over in an amount sufficient to make another distribution economically practical.

20          35.    As noted in the Settlement Stipulation and pursuant to Court Approval, the Escrow

21 Agent will safeguard, control, and maintain the Settlement Fund until the Effective Date. For

22 privacy reasons, the names of Aegis’ insurers and all of the authorized agents and certain security

23 measures have been redacted from the corresponding Escrow Agreement and Escrow Procedure

24 Agreement, attached as Exhibit 4 to the Settlement Stipulation.

25          Stipulated Injunction

26          36.    The Stipulation of Settlement also includes substantial non-monetary relief in the

27 form of the Stipulated Injunction, which subject to Court approval, will commence on the

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 1 Effective Date and remain in place for three years from that date. The terms of the Injunction

 2 address the alleged failures to provide sufficient staffing at Defendant’s facilities and the crux of

 3 this case. Among other terms, the Injunction has the following Disclosure Requirements and

 4 Staffing Requirements pertaining to any assisted living facility owned or operated by Aegis in

 5 California and Washington.

 6          Disclosure Requirements Under the Stipulated Injunction

 7              a. Aegis personnel shall refrain from making any oral or written statements to current
                   or prospective residents (and if applicable, family members or representatives of
 8
                   current or prospective residents) that state or imply that resident assessments are
 9                 the only factor used to determine, set or monitor staffing levels at Aegis
                   communities.
10
                b. Aegis shall ensure that all new Residence and Care Agreements at its communities
11                 provided to, made available or entered into after the Effective Date (as defined in
                   the Settlement Stipulation) contain disclosures substantially in the form as follows:
12
                   (a) the resident assessments described in the Residence and Care Agreement,
13                 including those conducted at the time of admission and thereafter during a
                   resident’s stay, are considered by Aegis in determining, setting and monitoring
14                 staffing levels at its communities. Aegis considers the assessments and other
                   factors to determine, set or monitor staffing levels at Aegis communities; and (b)
15                 Aegis does not guarantee that any resident will receive a specific number of
                   minutes or amount of care on any given day or time period.
16

17              c. Aegis shall ensure that its web pages, marketing brochures or other materials, and
                   any other written statements provided to or made available to the consuming public
18                 in California and Washington after the Effective Date and that discuss resident
                   assessments contain the following disclosure substantially in this form: “In
19                 determining and monitoring staffing levels, Aegis considers resident assessments
                   and other factors.”
20
                d. Not later than the Effective Date, Aegis shall ensure that all Residence and Care
21
                   Agreements, web pages, marketing brochures or other materials, and any other
22                 written statements to be provided to or made available to the consuming public in
                   California and Washington and that discuss resident assessments are in compliance
23                 with the terms of this Injunction. The requirements of this paragraph of the
                   Injunction shall apply only to Residence and Care Agreements, marketing
24                 brochures, web pages and any other statements provided to, made available or
25                 entered into with new or prospective residents after the Effective Date, and shall
                   not require or obligate Aegis to amend or modify Residence and Care Agreements
26                 or other documents or statements provided to, made available or entered into prior
                   to the Effective Date.
27

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 1          Staffing Requirements Under the Stipulated Injunction

 2                a. Not later than the Effective Date, Aegis shall ensure continued compliance with all
                     applicable regulations, including those related to providing staffing levels sufficient
 3
                     to provide current residents with the care services set forth in their service plans,
 4                   including but not limited to: 22 CCR § 87411(a), § 87705(c)(4), WAC 388-78A-
                     2450, WAC 388-78A-2160.
 5
                  b. Without limitation to (and consistent with) the above-stated requirements, Aegis
 6                   shall set staffing at its facilities based on Aegis’s determination of the staffing
                     hours reasonably required to perform the assessed care tasks needed by the
 7
                     residents as determined by Aegis’s assessment procedures, the amount of time it
 8                   takes to accomplish the given tasks, the experience and/or education of the staff,
                     and the ability of staff to perform various tasks in parallel.
 9
            37.      The Injunction references a Compliance Report Addendum, which Defendant
10
     contends includes proprietary information concerning Aegis’ operations. As such, the Compliance
11
     Report Addendum will be made available to any Settlement Class Member (or legal representative
12
     or successor-in-interest) who requests it but not otherwise publicly disclosed. All non-confidential
13
     settlement documents will be immediately available at the website for this class action settlement.
14
     The website will include a webpage stating that the confidential Injunction Compliance Report
15
     Addendum will be made available to any Settlement Class Member (or legal representative or
16
     successor-in-interest) upon request.
17
            Release Provisions
18
            38.      Under the Settlement Stipulation, the Named Plaintiffs and Settlement Class
19
     Members (excluding opt-outs) will release any and all actions, claims, demands, rights, suits, and
20
     causes of action of whatever kind or nature whatsoever that the Releasing Parties ever had, now
21
     have or hereafter can, shall, or may have against the Released Parties, including without limitation
22
     any and all damages, loss, costs, expenses, penalties, attorneys’ fees and expert fees, and interest,
23
     whether known or unknown, suspected or unsuspected, asserted or unasserted, fixed or contingent,
24
     direct or indirect, whether sounding in tort or contract or any other legal theory, whether statutory,
25
     administrative, common law or otherwise, however pled, wherever brought and whether brought
26
     in law, equity or otherwise, arising out of or relating in any way or manner to the claims and
27
   allegations asserted or that could have been asserted in either or both Actions based on the facts
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 1 alleged in the complaints in the California and/or Washington Actions; provided that the following

 2 claims only are specifically excluded from this Release: (i) any individual claims for personal

 3 injuries, wrongful death, bodily harm, or emotional distress resulting from said claims for personal

 4 injuries, wrongful death or bodily harm; and (ii) claims based on a breach of the Settlement

 5 Stipulation or the Injunction. Nothing in the Settlement Stipulation shall preclude any person or

 6 entity from asserting any and all relevant allegations in support of a claim for personal injuries,

 7 wrongful death, bodily harm, or emotional distress resulting from said personal injuries, wrongful

 8 death or bodily harm, including without limitation, allegations that the facility was understaffed.
 9 The releases are effective only after the settlement has been granted final approval and the

10 Effective Date is reached.

11          Class Notice and Settlement Administration Costs

12          39.    The Settlement Stipulation provides dissemination of class notice to Settlement

13 Class Members by first class U.S. Mail and e-mail. To effectuate notice, Defendant will provide

14 names and contact information for all Settlement Class Members (and representatives/family

15 members to the extent available) to the Administrator, which will be updated through standard

16 change of address and other procedures. Any returned mail shall be re-sent after a skip trace is

17 performed. In addition to mailing and e-mailing, a summary form of the Court-approved class

18 notice will be published in the California and Washington editions of USA Today and posted on

19 the settlement website. The costs of class notice and settlement administration expenses, which the

20 Settlement Administrator estimates will not to exceed $105,000, will be paid from the Settlement

21 Fund.

22          Payment of Service Awards, Attorneys’ Fees and Litigation Costs

23          40.    Subject to Court approval, the Settlement Stipulation provides for Service Awards

24 of $15,000 to each of the five Named Plaintiffs, collectively not to exceed $75,000. As will be

25 established in detail in the formal application for Service Awards, Named Plaintiffs devoted

26 substantial time to the case prosecution, including with discovery, depositions, and/or settlement

27 negotiations.

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 1          41.     In addition, the Settlement Stipulation allows Plaintiffs’ Counsel to file an

 2 application for attorneys’ fees not to exceed $6.35 million and litigation costs not to exceed $1.3

 3 million. Prior to the Preliminary Approval Hearing, Plaintiffs will submit supplemental

 4 information pertaining to their attorneys’ fees lodestar and litigation costs incurred to date.

 5 Counsel anticipate that additional fees and costs will be incurred in connection with the approval

 6 proceedings, settlement administration, and related matters. There is no clear sailing provision on

 7 fees or costs in the Settlement Stipulation. Rather, it simply caps the maximum request that

 8 Plaintiffs can submit. Plaintiffs will support the requested attorneys’ fees and costs in a motion
 9 filed before the objection/opt-out deadline. Under the Settlement Stipulation, any monies not

10 requested (or not approved) for fees and costs will be added to the Net Settlement Fund for

11 payment to Settlement Class Members.

12          Fairness Assessment
13          42.     For several reasons, the collective Plaintiffs’ Counsel believe the settlement is fair,
14 appropriate, reasonable and in the best interests of the Settlement Class. For purposes of this

15 motion, it clearly falls within the “range of reasonableness” required for preliminary settlement

16 approval.

17          43.     First, the Settlement Stipulation was reached through countless arms-length
18 negotiations, which included four formal full-day mediations supervised by experienced neutrals,

19 multiple conference calls and email exchanges that occurred over several years. Those

20 negotiations included mediations with Honorable Ronald Sabraw (ret.) on May 29, 2018 and

21 October 2, 2018, with Honorable Bruce Hilyer (ret.) on October 22, 2019, and with Honorable

22 Rebecca Westerfield (ret.) March 24, 2020. The negotiations were hard-fought, with several

23 instances where it appeared that the parties would not reach agreement.

24          44.     Second, Plaintiffs’ Counsel here have extensive experience litigating and settling

25 consumer class actions and other complex matters. They have investigated the factual and legal

26 issues raised in this action, and that investigation informed the settlement negotiations. As

27 discussed above, the parties engaged in substantial discovery that collectively between the

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 1 California and Washington Actions included a review of Defendant’s production of over 214,546

 2 pages of documents, including approximately 4,288 Excel and native files, and the depositions of

 3 fourteen witnesses, including Defendant’s executive-level and facility-level personnel, and

 4 designated Persons Most Knowledgeable, the Plaintiffs’ experts, Named Plaintiff and two

 5 witnesses with knowledge about the claims of the California Named Plaintiffs; as well as data

 6 intensive discovery resulting in the production of electronic employee payroll data as well as meet

 7 and confer efforts among Defendant and its resident assessment software vendor to obtain

 8 Defendant’s electronic resident assessment data before reaching settlement. Likewise, as
 9 discussed above, the pleadings were highly contested in both the Californian and Washington

10 Actions. These and other proceedings in the case produced a thorough vetting (pre-settlement)

11 of the factual and legal bases for Plaintiffs’ claims and the key defenses to those claims.

12          45.     The settlement will result in substantial benefits to the Settlement Class. Under the
13 Agreement, Defendant has agreed to pay $16.25 million, of which approximately $8.395 million

14 will be available for distribution to Settlement Class Members. Assuming that every Settlement

15 Class Member is located for distribution of the payments, the average Settlement Award will be

16 roughly $950 for the California Subclass, and $1,550 for the Washington Subclass. If current

17 addresses cannot be located for all potential class members (or their successors), such that

18 additional funds are available for distribution, the Settlement Administrator will increase the per-

19 class member payment.

20          46.     The projected average settlement award compares favorably with the likely recovery

21 if the case was tried. The lead claim for monetary relief in the lawsuit has been the recovery of the

22 approximately $54 million in Community Fees paid by residents in California and Washington.

23 Under Plaintiffs’ case theory, the Community Fees would not have been paid had residents known

24 the “true” facts that resident assessments are not used to set facility staffing. Unlike other

25 charges—such as care fees as to which residents arguably received some value for services

26 rendered—the Community Fees arguably are the least likely to be affected by Defendant’s offset

27 and related defenses. Defendant’s records indicate the total amount of Community Fees paid by

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 1 Settlement Class Members was approximately $54 million. As discussed above, Defendant has

 2 agreed to pay a settlement fund of $16.25 million, of which roughly $8.395 will be available for

 3 distribution to class members. Based on the proposed apportionment between the California and

 4 Washington Subclasses based on the respective percentage of the amount of total Community Fees

 5 paid, that translates to an estimated average Settlement Payment Percentage of approximately

 6 13.9% of the average Community Fees paid by the California Subclass, and approximately 15.3%

 7 of the average Community Fees paid by the Washington Subclass. While the Community Fees

 8 represent the most solid damage claim at trial, for settlement purposes, there is no guarantee that
 9 the trier of fact would award the full amount of these fees. As to these fees, and other payments

10 made by residents (such as rent), Defendant contends Plaintiffs’ damage claims are barred (or at

11 least mitigated by the resident’s receipt of care services after move-in. In addition to substantive

12 defenses, Defendant argues the claims are not suitable for class treatment, given the arguable

13 resident-specific issues raised. Even if the Court certified a litigation class, Defendant is expected

14 to raise vigorous trial defenses as to both liability and damages. For example, Defendant argues

15 there is no omission or misrepresentation concerning staffing levels or the use of assessments in

16 setting or reviewing staffing levels at their assisted living facilities. Defendant contends resident

17 assessments are considered in setting or reviewing staffing at its facilities, that their residency

18 agreement does not promise that facility staffing levels will be based on any particular factor

19 including resident assessments, and that prospective residents based their decision to enter their

20 facilities on non-staffing factors. While Plaintiffs disagree with Defendant’s arguments, for

21 settlement evaluation purposes, these and other defense arguments, asserted by skilled and

22 experienced counsel, raise real trial risks and must be considered.

23          47.     Here, the projected average settlement payment of approximately $950 for the

24 California Subclass and $1,550 for the Washington Subclass (which respectively represent roughly

25 13.9% and 15.3% of the hard damages most likely to recovered at trial per class member) is well

26 within the range of reasonableness for Court approval. As illustrated in the chart below, it also falls

27 within the range of Class Counsel’s previously approved class settlements involving similar

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 1 clients, claims, and/or issues.
      Case             Sett.   Class    Notice       No. and %     Avg.          Cy Pres       Admin.     Fees and    Injunct. Relief
 2                     Fund    Size     Methods      of Claims     Recovery                    Costs      Costs

 3    Winans v.        $13M    19,000   Mail,        (Opt Out      $450          Pending       $155,000   $3.667M /   Phase out
      Emeritus                          Newspaper,   Settlement)                 supp. dist.              $121,243    challenged
 4    Corp.                             Website                                  to Sett.
                                                                                 Class
                                                                                                                      assessment
                                                                                                                      program. Cease
      N.D. Cal., No.                                                                                                  alleged
 5    3:13-cv-
      03962-HSG
                                                                                                                      misrepresentations.


 6    Carnes v.        $6.4    13,750   Mail,        (Opt Out      $290          $300,000      $120,000   $2.112M /   Cease alleged
      Atria Senior     M                Newspaper,   Settlement)                                          $135,000    misrepresentation.
 7    Living                            Website                                                                       Agree to consider
                                                                                                                      resident
      N.D. Cal., No.                                                                                                  assessments in
 8    3:14-cv-                                                                                                        staffing.
      02727-VC

 9    Lollock v.       $9M     6,972    Mail,        (Opt Out      Projected     Pending       $75,000    $3.490M /   Staffing levels to
      Oakmont                           E-Mail,      Settlement)   $1,459.31,    dist. to                 $328,745    ensure care
10    Senior Living,                    Newspaper,                 subject to    Sett. Class                          personnel necessary
      et al.                            Website                    distributio                                        to meet residents’
                                                                   n to Sett.                                         needs. Cease
11    Alameda Cty.                                                 Class                                              alleged
      Sup.Ct., No.                                                                                                    misrepresentations.
      RG17875110
12

13             48.       Further, the actual settlement awards will likely exceed the projected averages. To

14 be sure, the Settlement Administrator is tasked with making all reasonable efforts to locate and pay

15 all Settlement Class Members (or their legal successors). Still, the practical reality is that some

16 Class Members will not be located or not have successors. As such, some funds will go

17 undistributed. If so, under the Agreement, the Administrator will use those funds to increase the

18 payment amounts for the Class Members who have been located.

19             49.       The potential risks attending further litigation support preliminary approval.

20 Plaintiffs face significant challenges with respect to class certification. Among other arguments,

21 Defendant contends that Plaintiffs’ claims necessarily require consideration of the care services

22 provided (or not) to each resident. According to Defendant, that will trigger individual issues and

23 thus negate class certification, under cases such as Walmart and Comcast. Defendant also

24 contends that written arbitration agreements between Defendant and up to approximately 90% of

25 the class member residents preclude a litigation class in this case. While Plaintiffs believe the

26 claims asserted are proper for class treatment, Defendant’s anticipated challenge to class

27 certification is a litigation risk that bears on the overall settlement evaluation. Even if the Court

28 certified a litigation class, Defendant is expected 22
                                                       to raise vigorous trial defenses as to both liability
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 1 and damages. For example, Defendant has asserted that residents received value (in the form of

 2 care services and other benefits) that negate (or at least mitigate) any recovery. Defendant also

 3 argues that there is no misrepresentation or omission concerning staffing or staffing levels at

 4 Aegis’ communities, or the use of assessments in setting or reviewing staffing or staffing levels.

 5 Defendant contends that resident assessments are considered in setting or reviewing staffing at its

 6 communities, and that prospective residents based their decision to enter Aegis’ facilities on non-

 7 staffing factors. Again, Plaintiffs disagree with Defendant’s arguments and other anticipated

 8 defense arguments. But Defendant’s contentions, asserted by extremely skilled and experienced
 9 counsel, raise real trial risks.

10          50.     Further, implementing the settlement now avoids delay, which is particularly
11 important given the advanced age and frail condition of many Settlement Class Members.

12 Proceeding to trial (and the inevitable appeal) could add several years or more to the resolution of

13 this case. Considered against the risks of continued litigation, and the advanced age of many of

14 the Class Members, the totality of relief provided under the proposed Settlement Stipulation is

15 more than adequate and well within the range of reasonableness. Furthermore, the impact of the

16 COVID-19 pandemic cannot be overstated. Under the extraordinary and uncertain circumstances

17 when the parties reached a putative settlement in July 2020, the West Coast had just come off of

18 the initial surge in infections with no prospect of a vaccine. Indeed, the first major COVID-19

19 hotspot was at a long term care center in a suburb of Seattle, Washington. (See “Nearly Two-

20 Thirds of Residents at Life Care Center in Kirkland, Wash., Had the Coronavirus, and for a Time,

21 Suburban Seattle was the American Epicenter,” New York Times, March 21, 2020, available at

22 https://www.nytimes.com/2020/03/21/us/coronavirus-nursing-home-kirkland-life-care.html. ) The

23 COVID-19 infection rate was soaring in long term care facilities, posing a significant threat to the

24 health and safety of class member residents. For example, studies have found that although less

25 than one percent of the American population lives in long term care facilities, they have accounted

26 for approximately 36% of US COVID-19 deaths. (See, e.g., “The Long-Term Care COVID

27 Tracker,” The COVID Tracking Project, available at https://covidtracking.com/nursing-homes-

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 1 long-term-care-facilities.) The pandemic also posed a real and long term threat to the financial

 2 viability of businesses including Aegis. In addition to contemplating Defendant’s bleak financial

 3 picture, there were a slew of bills and executive appeals seeking broad legal immunity including

 4 for the long term care industry. Moreover, as the Court is well aware, the myriad uncertainties

 5 arising from the pandemic also included months-long delays in civil cases, the cessation of jury

 6 trials, and the possibility of courts closing their doors completely in response to the pandemic.

 7          51.    Although the Court is not asked at this stage to rule on the anticipated requests for

 8 attorneys’ fees, reimbursement of litigation costs and service awards to the named plaintiffs.
 9 However, the record shows the amounts proposed in the Agreement on these items fall within an

10 acceptable range. Under the Agreement, the request for reimbursement of litigation expenses will

11 not exceed $1.3 million, and Plaintiffs’ attorneys’ fees subject to Court approval will not exceed

12 $6.35 million. The anticipated fee request will represent a “negative” multiplier of approximately

13 0.59 on lodestar fees to date. As of March 1, 2021, Plaintiffs’ counsel worked approximately

14 16,350 hours on the California and Washington cases combined, with a lodestar of roughly $10.7

15 million and litigation costs incurred of roughly $1.3 million. Given that additional attorney time

16 will be required for settlement approval and implementation phases, the projected negative

17 multiplier will be even lower. The work to develop the case theory and litigate the California

18 Action, including without limitation work performed by Plaintiffs’ Counsel, the Named Plaintiffs,

19 and Plaintiffs’ experts, inured to the benefit of the Washington Action. An award of the maximum

20 attorneys’ fees permitted under the Settlement Stipulation ($6.35 million) would represent

21 approximately 39% of the Settlement Fund.

22          52.    In compliance with Rule 23(a)(1), the members of the Settlement Class are so

23 numerous that joinder of all members is impractical. The total Settlement Class consists of

24 approximately 10,069 current and former residents of Aegis’ facilities in California and

25 Washington. 5,615 of the Settlement Class Members are in California, and 4,454 are in

26 Washington. Under the Settlement Stipulation, Defendant will provide the Settlement

27 Administrator with a list of the last known contact information for all Settlement Class Members

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 1 prior to issuance of class notice.

 2          53.      The Settlement Class defined by the Settlement Stipulation mirrors the Class

 3 proposed in the Third Amended Complaint. The Settlement Class consists of two readily

 4 ascertainable subclasses:

 5                a. All persons who resided at one of the Aegis Living branded California assisted
                     living facilities at any time between April 12, 2012, through and including October
 6
                     30, 2020 (the “California Class Period”) that were owned or managed by Defendant
 7                   or in which Defendant was identified as a licensee by California’s Department of
                     Social Services, including without limitation the following communities: Aegis
 8                   Gardens (Fremont), Aegis of Aptos, Aegis of Carmichael, Aegis of Corte Madera,
                     Aegis of Dana Point, Aegis of Fremont, Aegis of Granada Hills, Aegis of Laguna
 9                   Niguel, Aegis of Moraga, Aegis of Napa, Aegis of Pleasant Hill, Aegis of San
10                   Francisco, Aegis of San Rafael 1, Aegis of Shadowridge (Oceanside), and Aegis of
                     Ventura (“California Subclass”); and
11
                  b. All persons who resided at one of the Aegis Living branded Washington assisted
12                   living facilities at any time between March 8, 2014, through and including October
                     30, 2020 (the “Washington Class Period”) that were owned or managed by
13                   Defendant or in which Defendant was identified as a licensee by Washington’s
                     Department of Social and Health Services, including without limitation the
14
                     following communities: Aegis Gardens (Newcastle), Aegis Lodge (Kirkland),
15                   Aegis of Bellevue, Callahan House (Shoreline), Aegis of Issaquah, Aegis of Kent,
                     Aegis of Kirkland, Aegis of Lynnwood, Aegis of Madison (Seattle), Aegis of
16                   Marymoor (Redmond), Aegis of Mercer Island, Queen Anne on Galer, Queen
                     Anne Rodgers Park, Aegis of Ravenna (Seattle), Aegis of Redmond, Aegis of
17                   Shoreline, Aegis of West Seattle, Aegis of Bothell, Aegis of Edmonds, and Aegis
                     of Northgate 2 (“Washington Subclass”).
18
            54.      The requirements of Rule 23(a)(2) are met, as the lawsuit involves several common
19
     class-wide issues. Disputed issues common to the named plaintiffs and the Class include (a)
20
     whether Defendant violated the Consumer Legal Remedies Act, Washington Consumer Protection
21
     Act, and other statutes and regulations by misrepresenting and/or failing to disclose the manner in
22

23

24   1
     The parties acknowledge and agree that, with respect to Aegis of San Rafael, the Settlement
   Class includes only persons who resided at the Aegis of San Rafael facility between April 12,
25 2012 through and including March 31, 2016.

26 2 The parties acknowledge and agree that, with respect to Aegis of Bothell, Aegis of Edmonds, and
   Aegis of Northgate, the Settlement Class includes only persons who resided at those facilities
27 between March 8, 2014 through and including September 30, 2015.

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 1 which resident assessments would be used to determine facility staffing; (b) whether a “reasonable

 2 consumer” would have been misled by Defendant’s misrepresentations, misleading statements and

 3 omissions; and (c) whether the Named Plaintiffs and class members were “damaged” and entitled

 4 to monetary recovery.

 5          55.     The claims of the Named Plaintiffs are typical of the claims of the Settlement

 6 Class, as required under Rule 23(a)(3). As alleged in the Third Amended Complaint, Defendant

 7 misrepresented to Plaintiffs and the class members and/or their family members that Defendant

 8 uses its resident assessment system to determine the care services to be provided by facility staff
 9 and to assess and bill residents for corresponding care points. Rather, Defendant allegedly has a

10 policy of fixed staffing, regardless of the results generated by its resident assessment system,

11 which results in residents not receiving all of the care they have paid for and/or being subjected to

12 the inherent risk that, on any given day, facility staffing will be insufficient to provide the

13 promised care for all residents. Further, as alleged in the Third Amended Complaint, Defendant

14 has failed to disclose and concealed this material fact from the Named Plaintiffs and the class.

15 Plaintiffs’ claims are typical of the claims of the proposed class in the following ways: 1)

16 Plaintiffs are members of the proposed class; 2) Plaintiffs’ claims arise from the same uniform

17 corporate policies, procedures, practices and course of conduct on the part of Defendant; 3)

18 Plaintiffs’ claims are based on the same legal and remedial theories as those of the proposed class

19 and involve similar factual circumstances; 4) the injuries suffered by the Named Plaintiffs are

20 similar to the injuries suffered by the proposed class members; and 5) Plaintiffs seek a common

21 form of relief for themselves and the members of the class.

22          56.     Plaintiffs have (1) demonstrated the “ability and the incentive” to represent the

23 class vigorously, (2) “obtained adequate counsel”, and (3) “no conflict between the individual's

24 claims and those asserted on behalf of the class.” Because the claims asserted by Named Plaintiffs

25 are typical of those asserted on behalf of the Class, the Named Plaintiffs have the same interests in

26 the outcome of this case. As evidenced by the discovery and other efforts to date, Plaintiffs have

27 shown the incentive and ability to carry out their responsibilities as class representatives. Further,

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 1 the case is being prosecuted by counsel well-versed in class actions generally and elder abuse

 2 matters in particular.

 3          57.    Here, questions of law or fact common to the members of the class predominate

 4 over any questions affecting only individual members. Under Rule 23(b)(3), a class action is

 5 superior to other available methods for the fair and efficient adjudication of the controversy. As

 6 explained above, the common issues triggered by the Named Plaintiffs’ claims predominate over

 7 any individual questions, as resolution of issues such as whether a reasonable person would

 8 construe the Aegis contract as a promise to staff to meet assessed resident needs, and whether
 9 Aegis in fact disregarded its own resident assessments in setting facility staffing, will necessarily

10 resolve the liability determination. Litigating these common issues on a class basis is clearly

11 superior to multiple individual and duplicative proceedings on these same questions, particularly

12 given the frail and elderly status of most Class Members.

13          58.    The form and manner of the Class Notice proposed here complies with Rule 23 and
14 the overall requirements of due process. The proposed Notice here provides sufficient detail in

15 plain language to allow Settlement Class Members to make an intelligent decision with respect to

16 their legal rights under the settlement. In clear and straightforward language, the Notice describes

17 the claims asserted, the settlement terms, the monetary and other relief provided, and the amounts

18 proposed for settlement administration, attorneys’ fees and litigation costs, and service awards for

19 the Named Plaintiffs. It explains the procedures for opting out of, or objecting to, the settlement,

20 along with the consequences of pursuing these options or remaining in the settlement. Further, the

21 manner of class notice proposed here satisfies the “best notice practicable” requirement under

22 Rule 23(c)(2)(B). The Settlement Stipulation provides dissemination of class notice to Settlement

23 Class Members by first class U.S. Mail and e-mail. To effectuate notice, Defendant will provide

24 names and contact information for all Settlement Class Members (and representatives/family

25 members to the extent available) to the Administrator, which will be updated through standard

26 change of address and other procedures. Any returned mail shall be re-sent after a skip trace is

27 performed. In addition to mailing and e-mailing, a summary form of the Court-approved class

28                                        27
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 1 notice will be published in the California and Washington editions of USA Today and posted on

 2 the settlement website.

 3         I declare under penalty of perjury under the laws of the State of California that the

 4 foregoing is true and correct.

 5         Executed on this 22nd day of March 2021 at San Francisco, California.

 6

 7                                                       Kathryn Stebner
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